                       UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF NORTH CAROLINA
                          File No.: 1:19-CV-00272-LCB

MAXWELL KADEL,
            Plaintiff,

        v.                                              NCDPS’
                                                 PRETRIAL DISCLOSURES
JASON FLECK, et al.,
                Defendants.



      NOW COMES Defendant North Carolina Department of Public Safety

(“NCDPS”), by and through Undersigned Counsel, pursuant to Rule 26 of the

Federal Rules of Civil Procedure, and hereby submit the following pretrial

disclosures:

      1.       Pursuant to Rule 26(a)(3)(A)(i), NCDPS identifies the following

witnesses that NCDPS expects to call to testify at trial:

               a. Becki Johnson

               b. George Wayne Goodwin

               c. Dee Jones

               d. Dale Folwell

      2.       Pursuant to Rule 26(a)(3)(A)(i), NCDPS identifies the following

witnesses that NCDPS may call to testify at trial, if the need arises:

                                          1



     Case 1:19-cv-00272-LCB-LPA Document 228 Filed 06/03/22 Page 1 of 6
             a. Dr. Patrick Lappert

             b. Dr. Stephen Levine

             c. Dr. Paul McHugh

             d. Dr. Paul Hruz

             e. Any and all witnesses identified by Plaintiff or co-Defendants

             f. Records custodians

             g. Any witness necessary for rebuttal

      3.     Pursuant to Rule 26(a)(3)(A)(ii), NCDPS may present by deposition, a

transcript of the pertinent parts of the deposition of the following witnesses:

             a. Dana Caraway

             b. Dr. Jamison Green

             c. Dr. George Brown

             d. Dr. Loren S. Schechter

             e. Dr. Dan Karasic

             f. Dr. Johnanna Olson-Kennedy

      4.     Pursuant to Rule 26(a)(3)(A)(iii), NCDPS identifies the following

documents that may be offered as exhibits at trial:

             a. First Amended Complaint (DE-75)



                                         2



     Case 1:19-cv-00272-LCB-LPA Document 228 Filed 06/03/22 Page 2 of 6
      b. NCDPS Answer to First Amended Complaint (DE-96)

      c. NCDPS’ Responses to Plaintiffs’ First Set of Interrogatories

      d. Plaintiffs’ Responses to NCDPS’ First Set of Interrogatories, First

         Request for Admissions, and First Request for Production of

         Documents;

      e. N.C. Gen. Stat. §§ 135-1 through 135-151

      f. N.C. Gen. Stat. § 143B-601

      g. 2021 Employee Benefits Booklets

      h. Minutes of December 1-2, 2016 Board Meeting

      i. Advisory Opinion of the N.C. Attorney General, Nov. 2, 1995

      j. Advisory Opinion of the N.C. Attorney General, Oct. 3, 2001

      k. Advisory Opinion of the N.C. Attorney General, March 26, 2002

      l. Dr.   Jamison   Green’s       expert   witness   designation,   report,

         curriculum vitae,     accompanying documents, and reliance

         materials disclosed by Plaintiff;

      m. George Wayne Goodwin’s expert witness designation, report,

         curriculum vitae,     accompanying documents, and reliance

         materials disclosed by NCDPS.



                                   3



Case 1:19-cv-00272-LCB-LPA Document 228 Filed 06/03/22 Page 3 of 6
      n. Dr. Patrick Lappert’s expert witness designation, report,

         curriculum vitae,   accompanying documents, and reliance

         materials disclosed by Defendants.

      o. Dr. Stephen Levine’s expert witness designation, report,

         curriculum vitae,   accompanying documents, and reliance

         materials disclosed by Defendants.

      p. Dr. Paul McHugh’s expert witness designation, report, curriculum

         vitae, accompanying documents, and reliance materials disclosed

         by Defendants.

      q. Dr. Paul Hruz’s expert witness designation, report, curriculum

         vitae, accompanying documents, and reliance materials disclosed

         by Defendants.

      r. Exhibits identified and marked from the Deposition of Dana

         Caraway

      s. Exhibits identified and marked from the Rule 30(b)(6) Deposition

         of NCDPS

      t. Documentation produced in discovery showing the medical

         records and invoices for medical care for Dana Caraway



                                 4



Case 1:19-cv-00272-LCB-LPA Document 228 Filed 06/03/22 Page 4 of 6
      u. Documentation produced in discovery regarding the NCDPS

         personnel file for Dana Caraway

      v. All discovery exchanged in this matter, including any documents

         produced by third parties

      w. Any exhibits listed in Plaintiff’s Pretrial Disclosures or co-

         Defendants’ Pretrial Disclosures.

      x. Any document necessary for impeachment or rebuttal.

Respectfully submitted this the 3rd day of June, 2022.

                                      JOSHUA H. STEIN
                                      Attorney General

                                      /s/ Alex R. Williams

                                      Alex R. Williams (N.C.S.B. No.
                                      41679)
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                                  5



Case 1:19-cv-00272-LCB-LPA Document 228 Filed 06/03/22 Page 5 of 6
                          CERTIFICATE OF SERVICE

      I hereby certify that I electronically filed the foregoing document with the

Clerk of Court using the CM/ECF system, which will provide electronic notice to

all counsel of record.

      This the 3rd day of June, 2022.



                                            /s/ Alex R. Williams

                                            Alex R. Williams
                                            Special Deputy Attorney General




                                        6



     Case 1:19-cv-00272-LCB-LPA Document 228 Filed 06/03/22 Page 6 of 6
